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Attorneys for Plaintiff
Celgene Corporation

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


CELGENE CORPORATION,
                                                       Civil Action No. ________________
                          Plaintiff,
                                                       COMPLAINT FOR
       v.                                              PATENT INFRINGEMENT
SYNTHON PHARMACEUTICALS INC.,
                                                       (Filed Electronically)
SYNTHON B.V., SYNTHON S.R.O., and
ALVOGEN PINE BROOK, LLC,

                          Defendants.


       Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Synthon Pharmaceuticals Inc. (“Synthon Pharmaceuticals”),

Synthon B.V. (“Synthon B.V.”), Synthon s.r.o. (“Synthon s.r.o.,” together with Synthon

Pharmaceuticals and Synthon B.V., “Synthon”) and Alvogen Pine Brook, LLC (“Alvogen”)

(collectively, “Defendants”), alleges as follows:

                                        Nature of the Action

         1.      This is an action for patent infringement under the patent laws of the United

 States, 35 U.S.C. §100, et seq., arising from the filing of Abbreviated New Drug Application

 (“ANDA”) No. 210232 with the United States Food and Drug Administration (“FDA”) seeking

 approval to commercially market generic versions of Celgene’s 1 mg, 2 mg, 3 mg, and 4 mg
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 POMALYST® drug products (“Synthon’s ANDA Products”) prior to the expiration of United

 States Patent Nos. 10,093,647 (the “’647 patent”), 10,093,648 (the “’648 patent”), and

 10,093,649 (the “’649 patent”) (collectively, “the patents-in-suit”) owned by Celgene.

                                          The Parties

       2.       Plaintiff Celgene is a biopharmaceutical company committed to improving the

lives of patients worldwide. Celgene focuses on, and invests heavily in, the discovery and

development of products for the treatment of severe and life-threatening conditions. Celgene is a

world leader in the treatment of many such diseases, including cancer. Celgene is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 86 Morris Avenue, Summit, New Jersey 07901.

       3.       On information and belief, Synthon Pharmaceuticals is a North Carolina

 corporation, having a principal place of business at 1007 Slater Road, Suite 150, Durham,

 North Carolina 27703.

       4.       On information and belief, Synthon B.V. is a corporation organized and existing

 under the laws of the Netherlands, having a principal place of business at Microweg 22, P.O.

 Box 7071, 6503 CM Nijmegen, the Netherlands.

       5.       On information and belief, Synthon s.r.o. is a Czech Republic entity having a

 principal place of business at Brnenska 32/cp. 597, 678 01 Blansko, Czech Republic.

       6.       On information and belief, Alvogen is a Delaware corporation, having a

principal place of business at 10B Bloomfield Avenue, Pine Brook, New Jersey 07058.

                                      The Patents-in-Suit

       7.       On October 9, 2018, the United States Patent and Trademark Office (“USPTO”)

duly and lawfully issued the ’647 patent, entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-

3-yl)isoindoline-1,3-dione dihydrate, compositions and methods of use thereof,” to Celgene as


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assignee of the inventor Jerry Lee Atwood. A copy of the ’647 patent is attached hereto as

Exhibit A.

       8.       On October 9, 2018, the USPTO duly and lawfully issued the ’648 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione hemihydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’648 patent is attached hereto as Exhibit B.

       9.       On October 9, 2018, the USPTO duly and lawfully issued the ’649 patent,

entitled, “Crystalline 4-amino-2-(2,6-dioxopiperidine-3-yl)isoindoline-1,3-dione monohydrate,

compositions and methods of use thereof,” to Celgene as assignee of the inventor Jerry Lee

Atwood. A copy of the ’649 patent is attached hereto as Exhibit C.

                                The Pomalyst® Drug Product

       10.      Celgene holds an approved New Drug Application (“NDA”) under Section

505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for

pomalidomide capsules (NDA No. 204026), which it sells under the trade name POMALYST®.

POMALYST® is an FDA-approved medication used for the treatment of multiple myeloma.

       11.      The claims of the patents-in-suit cover, inter alia, solid forms of pomalidomide.

                                   Jurisdiction and Venue

       12.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

       13.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

 1400(b).

                                           A. Synthon

         14.    This Court has personal jurisdiction over Synthon Pharmaceuticals by virtue of,

 inter alia, its systematic and continuous contacts with the State of New Jersey. On information


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and belief, Synthon Pharmaceuticals is registered with the State of New Jersey’s Division of

Revenue and Enterprise Services as a business operating in New Jersey under Business ID No.

0100946900. On information and belief, Synthon Pharmaceuticals has purposefully conducted

and continues to conduct business in this Judicial District.

       15.     On information and belief, Synthon Pharmaceuticals is in the business of,

among other things, manufacturing, marketing, importing, offering for sale, and selling

pharmaceutical products, including generic drug products, throughout the United States,

including in this Judicial District. On information and belief, this Judicial District will be a

destination for the generic drug product described in ANDA No. 210232. On information and

belief, Synthon Pharmaceuticals prepares and/or aids in the preparation and submission of

ANDAs to the FDA.

       16.     On information and belief, Synthon B.V. is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District. On information and belief, this Judicial District will be a destination for the

generic drug product described in ANDA No. 210232. On information and belief, Synthon

B.V. prepares and/or aids in the preparation and submission of ANDAs to the FDA.

       17.     On information and belief, Synthon s.r.o is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District. On information and belief, this Judicial District will be a destination for the

generic drug product described in ANDA No. 210232. On information and belief, Synthon

s.r.o. prepares and/or aids in the preparation and submission of ANDAs to the FDA.




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       18.     On information and belief, Synthon Pharmaceuticals maintains extensive and

systematic contacts with pharmaceutical retailers, wholesalers, and/or distributors in New

Jersey providing for the distribution of Synthon’s products in the State of New Jersey.

       19.     On information and belief, Synthon regularly and continuously transacts

business within New Jersey, including by making pharmaceutical products for sale in New

Jersey and selling pharmaceutical products in New Jersey. On information and belief, Synthon

derives substantial revenue from the sale of those products in New Jersey.

       20.     This Court has personal jurisdiction over Synthon B.V. and/or Synthon s.r.o.

because, inter alia, they: (1) have purposefully availed themselves of the privilege of doing

business in New Jersey, including directly or indirectly through their subsidiary, agent, and/or

alter ego, Synthon Pharmaceuticals, a company registered with the State of New Jersey; and

(2) maintain extensive and systematic contacts with the State of New Jersey, including the

marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey including

through, directly or indirectly, Synthon Pharmaceuticals.

       21.     On information and belief, Synthon Pharmaceuticals acts at the direction, and

for the benefit, of Synthon B.V. and/or Synthon s.r.o.

       22.     On information and belief, Synthon Pharmaceuticals, Synthon B.V., and

Synthon s.r.o. are members of the same corporate family.

       23.     On information and belief, Synthon Pharmaceuticals, Synthon B.V., and

Synthon s.r.o. work in concert with respect to the regulatory approval, manufacturing,

importation, marketing, sale, and distribution of generic pharmaceutical products throughout

the United States, including in this Judicial District.




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        24.     On information and belief, Synthon Pharmaceuticals Inc., Synthon B.V., and/or

Synthon s.r.o. have partnered with Alvogen in the submission of ANDA No. 210232 and will

continue to partner with Alvogen towards the regulatory approval, manufacturing, use,

importation, marketing, offer for sale, sale, and distribution of generic pharmaceutical

products, including the generic drug product described in ANDA No. 210232, throughout the

United States, including in New Jersey, prior to the expiration of the patents-in-suit.

        25.     This Court has personal jurisdiction over Synthon because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and has sent notice of

that infringement to Celgene in the State of New Jersey. On information and belief, Synthon

intends a future course of conduct that includes acts of patent infringement in New Jersey.

These acts have led and will continue to lead to foreseeable harm and injury to Celgene in New

Jersey and in this Judicial District.

        26.     On information and belief, Synthon Pharmaceuticals and Synthon B.V. have

previously been sued in this Judicial District and have not challenged personal jurisdiction or

venue. See, e.g., Otsuka Pharmaceutical Co., Ltd. v. Sandoz, Inc., et al., Civil Action No. 07-

1000 (MLC)(JJH) (D.N.J.), D.I. 77 at ¶¶ 8, 11.

        27.     On information and belief, Synthon Pharmaceuticals and Synthon B.V. have

availed themselves of this Court by bringing counterclaims in this Judicial District. See, e.g.,

Otsuka Pharmaceutical Co., Ltd. v. Sandoz, Inc., et al., Civil Action No. 07-1000 (MLC)(JJH)

(D.N.J.), D.I. 77.

        28.     In the alternative, this Court has personal jurisdiction over Synthon B.V.

because the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Celgene’s

claims arise under federal law; (b) Synthon B.V. is a foreign defendant not subject to general




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personal jurisdiction in the courts of any state; and (c) Synthon B.V. has sufficient contacts

with the United States as a whole, including, but not limited to, preparing and submitting

ANDAs to the FDA and/or manufacturing, importing, offering to sell, and/or selling

pharmaceutical products that are distributed throughout the United States, such that this

Court’s exercise of jurisdiction over Synthon B.V. satisfies due process.

       29.     In the alternative, this Court has personal jurisdiction over Synthon s.r.o.

because the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Celgene’s

claims arise under federal law; (b) Synthon s.r.o. is a foreign defendant not subject to general

personal jurisdiction in the courts of any state; and (c) Synthon s.r.o. has sufficient contacts

with the United States as a whole, including, but not limited to, preparing and submitting

ANDAs to the FDA and/or manufacturing, importing, offering to sell, and/or selling

pharmaceutical products that are distributed throughout the United States, such that this

Court’s exercise of jurisdiction over Synthon s.r.o. satisfies due process.

                                          B. Alvogen

       30.     This Court has personal jurisdiction over Alvogen by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Alvogen is in the business of, among other things, manufacturing, marketing, offering for sale,

selling, and importing pharmaceutical products, including generic drug products, throughout

the United States, including in this Judicial District. On information and belief, Alvogen has

conducted and continues to conduct business in this Judicial District, including the purposeful

sale and distribution of drug products.

       31.     This Court has personal jurisdiction over Alvogen because, inter alia, it has

purposefully availed itself of the privilege of doing business in New Jersey.




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        32.     On information and belief, Alvogen derives substantial revenue from the sale of

generic pharmaceutical products and/or active pharmaceutical ingredient(s) (“API”) used in

various generic pharmaceutical products sold throughout the United States, including in this

Judicial District.

        33.     On information and belief, Defendants work in concert with respect to the

regulatory approval, manufacturing, marketing, sale, and distribution of generic pharmaceutical

products and/or API throughout the United States, including in this Judicial District.

        34.     On information and belief, Alvogen partnered with Synthon and participated in

the preparation and/or filing of ANDA No. 210232. On information and belief, Alvogen will

continue to partner with Synthon towards the regulatory approval, manufacturing, use,

importation, marketing, offer for sale, sale, and distribution of generic pharmaceutical

products, including the generic drug product described in ANDA No. 210232, throughout the

United States, including in New Jersey, prior to the expiration of the patents-in-suit.

        35.     On information and belief, Alvogen serves as a United States marketing partner

with respect to ANDA No. 210232.

        36.     This Court has personal jurisdiction over Alvogen because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2). On information and

belief, Alvogen intends a future course of conduct that includes acts of patent infringement in

New Jersey. These acts have led and will continue to lead to foreseeable harm and injury to

Celgene in New Jersey and in this Judicial District. This Judicial District is a likely destination

for the generic drug product described in ANDA No. 210232. On information and belief,

Alvogen intends to benefit from ANDA No. 210232 if ANDA No. 210232 is approved.




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         37.     On information and belief, Alvogen has previously not contested personal

 jurisdiction in this Judicial District. See, e.g., Indivior Inc., et al., v. Alvogen Pine Brook LLC,

 Civil Action No. 18-5285 (KM)(CLW) (D.N.J.); Celgene Corp. v. Lotus Pharm. Co., Ltd., et

 al., Civil Action No. 17-6842 (SDW)(LDW) (D.N.J.).

         38.     On information and belief, Alvogen has availed itself of this Court by bringing

 counterclaims in this Judicial District. See, e.g., Celgene Corp. v. Lotus Pharm. Co., Ltd., et

 al., Civil Action No. 17-6842 (SDW)(LDW) (D.N.J.).

       39.       Alvogen has previously been sued in this Judicial District and has not contested

venue. See, e.g., Indivior Inc., et al. v. Alvogen Pine Brook LLC, Civil Action No. 18-5285

(KM)(CLW) (D.N.J.).

                                   Acts Giving Rise To This Suit

       40.       Pursuant to Section 505 of the FFDCA, Defendants submitted ANDA No.

210232 seeking approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation into the United States of pomalidomide capsules 1 mg, 2 mg, 3 mg, and 4 mg

(“Synthon’s ANDA Products”), before the patents-in-suit expire.

       41.       On information and belief, following FDA approval of ANDA No. 210232,

Defendants Synthon and Alvogen will work in concert with one another to make, use, offer for

sale, or sell Synthon’s ANDA Products throughout the United States, or import such generic

products into the United States.

       42.       On information and belief, in connection with the filing of ANDA No. 210232

as described above, Defendants provided written certifications to the FDA pursuant to Section

505 of the FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Synthon’s Paragraph IV Certifications”),

alleging, inter alia, that the claims of United States Patent Nos. 8,198,262 (“’262 patent”),

8,673,939 (“’939 patent”), 8,735,428 (“’428 patent”), 8,828,427 (“’427 patent”), and 9,993,467


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(“’467 patent”) are invalid, unenforceable, and/or will not be infringed by the activities described

in ANDA No. 210232.

        43.      No earlier than May 4, 2018, Defendants sent written notice of their Paragraph

IV Certification to Celgene (“Synthon’s May 2018 Notice Letter”). Synthon’s May 2018 Notice

Letter alleged that the claims of the ’262 patent, the ’939 patent, the ’428 patent, and the ’427

patent are invalid and/or will not be infringed by the activities described in ANDA No. 210232.

Synthon’s May 2018 Notice Letter also informed Celgene that Synthon seeks approval to market

Synthon’s Proposed Products before the patents named in Synthon’s May 2018 Notice Letter

expire. Synthon specifically directed Synthon’s May 2018 Notice Letter to Celgene’s

headquarters in Summit, New Jersey, in this Judicial District.

        44.      No earlier than October 5, 2018, Defendants sent written notice of their

Paragraph IV Certification to Celgene (“Synthon’s October 2018 Notice Letter”). Synthon’s

October 2018 Notice Letter alleged that the claims of the ’467 patent are invalid and/or will not

be infringed by the activities described in ANDA No. 210232. Synthon’s October 2018 Notice

Letter also informed Celgene that Synthon seeks approval to market Synthon’s Proposed

Products before the expiration of the ’467 patent. Synthon specifically directed Synthon’s

October 2018 Notice Letter to Celgene’s headquarters in Summit, New Jersey, in this Judicial

District.

        45.      In light of Defendants’ filing of ANDA No. 210232 and the USPTO’s issuance

of the patents-in-suit, Celgene sent a letter to counsel for Defendants dated November 20, 2018,

in which Celgene informed counsel for Defendants that, on information and belief, the products

proposed in ANDA No. 210232 will likely infringe one or more claims of the patents-in-suit. To

the extent that Defendants disagreed, Celgene requested that Defendants provide samples of




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Synthon’s ANDA Products, the active pharmaceutical ingredient used to make those ANDA

Products, and additional documentation concerning the representativeness of the requested

samples, as well as all safety, storage, and handling information that Defendants deem

appropriate for its samples, by December 20, 2018.

        46.       Defendants did not respond to Celgene’s November 20, 2018 letter.

                            Count I: Infringement of the ’647 Patent

        47.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        48.       On information and belief, Synthon’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’647 patent.

        49.       Defendants, by the submission of their Paragraph IV Certifications as part of

ANDA No. 210232 to the FDA, have indicated that they seek approval to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s ANDA Products, prior to the expiration of the ’647 patent.

        50.       ANDA No. 210232 has been pending before the FDA since at least May 4,

2018, the date that Synthon sent Synthon’s May 2018 Notice Letter to Celgene.

        51.       Defendants’ submission of ANDA No. 210232 to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Synthon’s ANDA

Products, prior to the expiration of the ’647 patent, constitutes infringement of one or more of the

claims of that patent under 35 U.S.C. § 271(e)(2)(A).

        52.       There is a justiciable controversy between Celgene and Defendants as to the

infringement of the ’647 patent.

        53.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will infringe one or more claims of the ’647 patent under 35 U.S.C. § 271(a) by


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making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in the

United States.

        54.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will induce infringement of one or more claims of the ’647 patent under 35 U.S.C. §

271(b) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, upon FDA approval of ANDA No. 210232,

Defendants will intentionally encourage acts of direct infringement with knowledge of the ’647

patent and knowledge that its acts are encouraging infringement.

        55.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will contributorily infringe one or more claims of the ’647 patent under 35 U.S.C. §

271(c) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, Defendants have had and continue to have

knowledge that Synthon’s ANDA Products are especially adapted for a use that infringes one or

more claims of the ’647 patent and that there is no substantial non-infringing use for Synthon’s

ANDA Products.

        56.       Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’647 patent is not enjoined.

        57.       Celgene does not have an adequate remedy at law.

        58.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count II: Infringement of the ’648 Patent

        59.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.




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       60.       On information and belief, Synthon’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’648 patent.

       61.       Defendants, by the submission of their Paragraph IV Certifications as part of

ANDA No. 210232 to the FDA, have indicated that they seek approval to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s ANDA Products, prior to the expiration of the ’648 patent.

       62.       ANDA No. 210232 has been pending before the FDA since at least May 4,

2018, the date that Defendants sent Synthon’s May 2018 Notice Letter to Celgene.

       63.       Defendants’ submission of ANDA No. 210232 to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Synthon’s ANDA

Products, prior to the expiration of the ’648 patent, constitutes infringement of one or more of the

claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       64.       There is a justiciable controversy between Celgene and Defendants as to the

infringement of the ’648 patent.

       65.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will infringe one or more claims of the ’648 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in the

United States.

       66.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will induce infringement of one or more claims of the ’648 patent under 35 U.S.C. §

271(b) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, upon FDA approval of ANDA No. 210232,




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Defendants will intentionally encourage acts of direct infringement with knowledge of the ’648

patent and knowledge that its acts are encouraging infringement.

        67.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will contributorily infringe one or more claims of the ’648 patent under 35 U.S.C. §

271(c) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, Defendants have had and continue to have

knowledge that Synthon’s ANDA Products are especially adapted for a use that infringes one or

more claims of the ’648 patent and that there is no substantial non-infringing use for Synthon’s

ANDA Products.

        68.       Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’648 patent is not enjoined.

        69.       Celgene does not have an adequate remedy at law.

        70.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                           Count III: Infringement of the ’649 Patent

        71.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        72.       On information and belief, Synthon’s ANDA Products contain crystalline

pomalidomide as set forth in the claims of the ’649 patent.

        73.       Defendants, by the submission of their Paragraph IV Certification as part of

ANDA No. 210232 to the FDA, have indicated that they seek approval to engage in the

commercial manufacture, use, offer for sale, sale, or importation into the United States of

Synthon’s ANDA Products, prior to the expiration of the ’649 patent.




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       74.       ANDA No. 210232 has been pending before the FDA since at least May 4,

2018, the date that Defendants sent Synthon’s May 2018 Notice Letter to Celgene.

       75.       Defendants’ submission of ANDA No. 210232 to engage in the commercial

manufacture, use, offer for sale, sale, or importation into the United States of Synthon’s ANDA

Products, prior to the expiration of the ’649 patent, constitutes infringement of one or more of the

claims of that patent under 35 U.S.C. § 271(e)(2)(A).

       76.       There is a justiciable controversy between Celgene and Defendants as to the

infringement of the ’649 patent.

       77.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will infringe one or more claims of the ’649 patent under 35 U.S.C. § 271(a) by

making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in the

United States.

       78.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will induce infringement of one or more claims of the ’649 patent under 35 U.S.C. §

271(b) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, upon FDA approval of ANDA No. 210232,

Defendants will intentionally encourage acts of direct infringement with knowledge of the ’649

patent and knowledge that its acts are encouraging infringement.

       79.       Unless enjoined by this Court, upon FDA approval of ANDA No. 210232,

Defendants will contributorily infringe one or more claims of the ’649 patent under 35 U.S.C. §

271(c) by making, using, offering to sell, selling, and/or importing Synthon’s ANDA Products in

the United States. On information and belief, Defendants have had and continue to have

knowledge that Synthon’s ANDA Products are especially adapted for a use that infringes one or




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more claims of the ’649 patent and that there is no substantial non-infringing use for Synthon’s

ANDA Products.

        80.       Celgene will be substantially and irreparably damaged and harmed if

Defendants’ infringement of the ’649 patent is not enjoined.

        81.       Celgene does not have an adequate remedy at law.

        82.       This case is an exceptional one, and Celgene is entitled to an award of its

reasonable attorneys’ fees under 35 U.S.C. § 285.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Celgene respectfully requests the following relief:

        (A)     A Judgment that Defendants have infringed the patents-in-suit by submitting

ANDA No. 210232;

        (B)     A Judgment that Defendants have infringed, and that Defendants’ making, using,

offering to sell, selling, or importing Synthon’s ANDA Products will infringe one or more claims

of the patents-in-suit;

        (C)     An Order that the effective date of FDA approval of ANDA No. 210232 be a date

which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (D)     Preliminary and permanent injunctions enjoining Defendants and their officers,

agents, attorneys and employees, and those acting in privity or concert with them, from making,

using, offering to sell, selling, or importing Synthon’s ANDA Products until after the expiration

of the patents-in-suit, or any later expiration of exclusivity to which Celgene is or becomes

entitled;

        (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

enjoining Defendants, their officers, agents, attorneys and employees, and those acting in privity


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or concert with them, from practicing any solid forms of pomalidomide, as claimed in the

patents-in-suit, or from actively inducing or contributing to the infringement of any claim of the

patents-in-suit, until after the expiration of the patents-in-suit, or any later expiration of

exclusivity to which Celgene is or becomes entitled;

        (F)     A Judgment that the commercial manufacture, use, offer for sale, sale, and/or

importation into the United States of Synthon’s ANDA Products will directly infringe, induce

and/or contribute to infringement of the patents-in-suit;

        (G)     To the extent that Defendants have committed any acts with respect to the solid

forms of pomalidomide claimed in the patents-in-suit, other than those acts expressly exempted

by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for such acts;

        (H)     If Defendants engage in the commercial manufacture, use, offer for sale, sale,

and/or importation into the United States of Synthon’s ANDA Products prior to the expiration of

the patents-in-suit, a Judgment awarding damages to Celgene resulting from such infringement,

together with interest;

        (I)     A Judgment declaring that the patents-in-suit remain valid and enforceable;

        (J)     A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

awarding Celgene its attorneys’ fees incurred in this action;

        (K)     A Judgment awarding Celgene its costs and expenses incurred in this action; and

        (L)     Such further and other relief as this Court may deem just and proper.




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                CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matter captioned

Celgene Corporation v. Synthon Pharmaceuticals Inc., et al., Civil Action No. 18-10775

(ES)(MAH) (D.N.J.) is related to the matter in controversy because the matter in controversy

involves the same plaintiff and the same defendants, and because defendants in the matters are

seeking FDA approval to market generic versions of the same pharmaceutical products.

       I further certify that the matters captioned Celgene Corporation v. Hetero Labs Limited,

et al., Civil Action No. 19-5797 (ES)(MAH) (D.N.J.), Celgene Corporation v. Aurobindo

Pharma Limited, et al., Civil Action No. 19-5799 (ES)(MAH) (D.N.J.), Celgene Corporation v.

Mylan Pharmaceuticals Inc., et al., Civil Action No. 19-5802 (ES)(MAH) (D.N.J.), Celgene

Corporation v. Breckenridge Pharmaceutical, Inc., et al., Civil Action No. 19-5804 (ES)(MAH)

(D.N.J.), Celgene Corporation v. Apotex Inc., Civil Action No. 19-5806 (ES)(MAH) (D.N.J.),

and Celgene Corporation v. Teva Pharmaceuticals USA, Inc., et al, Civil Action No. 19-8758

(ES)(MAH) (D.N.J.) are related to the matter in controversy because the matter in controversy

involves the same plaintiff, the same patents, and because defendants in the matters are seeking

FDA approval to market generic versions of the same pharmaceutical products.

       I further certify that the matter captioned Celgene Corporation v. Hetero Labs Ltd., et al.,

Civil Action No. 17-3387 (ES)(MAH) (D.N.J.) is related to the matter in controversy because the

matter in controversy involves the same plaintiff and because defendants are seeking FDA

approval to market generic versions of the same pharmaceutical products.

       I further certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, or of any pending arbitration or administrative

proceeding.




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